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IN THE UNITED STATES I)ISTRICT COURT " ` 1311
FOR THE WESTERN DISTRICT OF TENNESSEE 05 H__p_\_, 9
WESTERN DIVISION 1311 1' UI
§Eaer~» ._
TRUSTMARK INSURANCE Co., ) ;§FP_( _1_;__’;~_ ,'_ _-j,~jTQ
) .2 j 1!\1{`__7_¢-;;_3
Plaintiff, )
)
v. ) No. 04-2715 D/An
)
MELVIN NEGELEIN,, et al., )
)
Defendants. )

 

ORDER DENYING MOTION FOR STAY OF ENTRY OF
SCHEDULING ORDER

 

Before the Court is the parties’ J 0th Motion for Stay of Entry of Scheduling Order filed
on April 1, 2005. Because J'udge Donald entered an Order Granting the Motion to Compel
Arbitration in this matter, the Court concludes that no Scheduh`ng Conference is needed.

Therefore, the J 0th Motion for Stay of Entry of Scheduling Order is I)ENIED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

Date: ‘,2?7/6\,7 §§ 2619¢/

IT IS SO ORDERED.

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with Rule 58 andfer 79(3)

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This notice confirms a copy of the document docketed as number 39 in
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ESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

